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IZN THE UNITED sTATEs DISTRICT COURT fli-FD EFY>-;_"
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n ;-§§.;)'tjr-,;t `R. Di _t"tt.`i;it)
PHILLLP LACEF]ELD, CL§HK_ U,S_ DiST. CT.
t_n_f_ r)_ C;F Tl\£, ivl'iEI‘-}.-.PH|S
Plaintiff,
v. NO. 05-2233 BP
THE NEW YORK TIMES, et al.,

Defendants.

 

ORDER DENYING PLA]_NTlFF’S EX PARTE MOTION FOR
SUMMARY JUDGMENT AGAINST U.S. DISTRICT COURT CLERK

 

Phillip Lacefield, a }M § Plaintiff, filed a motion on May 27, 2005 seeking summary
judgment pursuant to Rule 56 of the F ederal Rules of Civil Procedure against a non-party, Robert
Di Trolio, the United States District Court Clerl<, for his alleged failure to accomplish service on
several Defendants and failure to correct the Court’s docket sheet as requested in Plaintiff"s earlier
motion Rule 56 allows a “party seeking to recover upon a claim” to move with or without
supporting affidavits for summary judgment in the party’s favor. Fed. R. Civ. P. 56(a). However,
the Rule does not provide for a procedure by which a party could move for summary judgment
against a person who is not a party to the action and against whom no claim has been asserted _S_§§
State ofl\/Iarvland v. Acme Poultrv Corp., 9 F.R.D. 687, 688-89 (D. Del. 1949) (denying defendant’s
motion for summary judgment because the insurance carrier was not a party plaintiff). Inasmuch as
Di Trolio is not a party against whom a claim has been made in this action, the Court DENIES

Plaintit`f"s motion for summary judgment

Th'is document entered on the clocke sheet' /cc())rnpiiance
thh Ru|e 58 and/or 79(a) FRCP on ge §§ 5

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IT IS SO ORDERED this ri day of.lune, 2005.

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J ` NIEL BREEN \
t nn sTATEs ntsTRicr JuDGE

   

UNITED `sTATEs DISTRICT C URT - WESNTER ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02233 was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Phillip Lacefield
FCC-FORREST CITY
18183-076

P.O. Box 3000

Forrest City, AR 72336--300

Honorable .l. Breen
US DISTRICT COURT

